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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   SAMUEL “SOFIA” J. RAMIREZ,                          Case No.: 20cv2280-LL-AHG
12                                      Plaintiff,
                                                         ORDER ADOPTING REPORT AND
13   v.                                                  RECOMMENDATION
14   VANESSA HOLTON et al.,
15                                   Defendants.
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18         On November 20, 2020, Plaintiff “Sofia” Ramirez, a state prisoner proceeding pro
19   se, filed a Complaint under 42 U.S.C. § 1983. Plaintiff alleges her constitutional rights
20   were violated at Richard J. Donovan Correctional Facility, where she is an inmate. On
21   March 25, 2022, Defendants filed a Motion to Dismiss on the grounds that Plaintiff failed
22   to prosecute the action. ECF No. 31. On April 11, 2022, before Plaintiff filed any response,
23   Magistrate Judge Allison H. Goddard issued a Report and Recommendation (“R&R”) on
24   the motion, recommending that it be denied. ECF No. 32. No party has filed an objection
25   to the R&R, and the time for doing so has expired.
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 1         This Court, having reviewed de novo the Magistrate Judge’s R&R, ADOPTS the
 2   R&R in its entirety [ECF No. 32] and DENIES Defendants’ motion to dismiss [ECF No.
 3   31] without prejudice. Plaintiff is warned that failure to prosecute her case may result in
 4   the dismissal of her case.
 5         IT IS SO ORDERED.
 6   Dated: April 26, 2022
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